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7                                 UNITED STATES DISTRICT COURT

8                               SOUTHERN DISTRICT OF CALIFORNIA

9
                                                           Case No.: 19cv1281-JLS(BLM)
10    MARIA HERNANDEZ, an individual, et al.,

11                                       Plaintiffs,       ORDER GRANTING DEFENDANT’S
                                                           MOTION TO COMPEL THE FURTHER
12    v.                                                   DEPOSITION OF PLAINTIFF AND
                                                           MOTION TO COMPEL ANSWERS AT A
13    SOUTHWEST KEY PROGRAM, INC., a foreign
                                                           DEPOSITION
      nonprofit, et al.,
14
                                      Defendants.          [ECF No. 37]
15

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18         Currently before the Court is Defendant Southwest Key Program, Inc.’s (“Southwest’s” or
19   “Defendant’s”) Motion to Compel the Further Deposition of Plaintiff and Motion to Compel
20   Answers at a Deposition [ECF No. 37-1 (“MTC”)], Plaintiff’s opposition to the motion [ECF No.
21   35 (“Oppo.”), Plaintiff’s supplemental opposition to the motion [ECF No. 38 (“Supp. Oppo.”)],
22   and Defendant’s reply [ECF No. 39 (“Reply”)]. For the reasons set forth below, Defendant’s
23   motion is GRANTED.
24                                          BACKGROUND
25         Plaintiff’s deposition was initially noticed for December 10, 2019. MTC at 5; ECF No. 37-
26   2, Declaration of Glendy Lau in Support of Defendant’s Motion to Compel the Further Deposition
27   of Plaintiff and Motion to Compel Answers at a Deposition (“Lau Decl.”), at ¶ 3. After several
28   months of meeting and conferring, the parties rescheduled Plaintiff’s deposition for April 21,

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1    2020. MTC at 5; Lau Decl. at ¶ 4. Due to COVID-19 and the “Shelter in Place” orders, the

2    parties agreed to reschedule Plaintiff’s deposition and continue the fact discovery deadline by

3    60 days. MTC at 5; Lau Decl. at ¶ 5. On June 18, 2020, the Court granted the parties’ joint

4    motion to continue the fact discovery deadline [ECF No. 29] to August 25, 2020. ECF No. 30.

5           Plaintiff’s first deposition was conducted virtually on June 15, 2020. MTC at 6; Lau Decl.

6    at ¶ 7. Due to technical issues with the audio and Veritext’s (the vendor for the court reporter)

7    exhibit sharing program, the deposition, which was noticed for 10:00 a.m., started

8    approximately 45 minutes late. Id. Plaintiff’s deposition was not completed by the end of the

9    day because of additional various delays. Id. Defendant identified four significant problems:
10                 1.     Plaintiff had difficulty viewing exhibits on the computer because she

11          allegedly did not know how to use a computer and needed instructions on how to

12          scroll and navigate the exhibits. Id.

13                 2.     Plaintiff needed a Spanish interpreter and the interpreter could not

14          translate testimony contemporaneously over videoconferencing because the court

15          reporter could not transcribe the testimony when two people were talking at the

16          same time. MTC at 6; Lau Decl. at ¶ 8.

17                 3.     Plaintiff struggled to understand basic questions which led to many

18          questions being rephrased or repeated. MTC at 6-7; Lau Decl. at ¶ 8.

19                 4.     Plaintiff provided many non-responsive or evasive answers, would

20          often go off topic, and required follow-up questions to refresh her memory. MTC

21          at 7; Lau Decl. at ¶ 9.

22          Plaintiff’s second day of virtual deposition was noticed for July 6, 2020. MTC at 7; Lau

23   Decl. at ¶ 10. This deposition was suspended after the lunch break at Plaintiff’s request because

24   Plaintiff was not feeling well. MTC at 8; Lau Decl. at ¶ 11. Defense counsel experienced the

25   same difficulties and delays during this session as occurred during the first day of deposition.

26   Id. Additionally, Plaintiff had trouble seeing exhibits, despite defense counsel’s attempt to share

27   her screen on Zoom, and the deposition was delayed while Veritext’s technician investigated the

28   problem. MTC at 7; Lau Decl. at ¶¶ 10-11. The parties continued Plaintiff’s deposition to July

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1    29, 2020 and Defendant rented a conference room so that the court reporter could be present

2    in the same location as Plaintiff and could hand Plaintiff physical copies of the exhibits. MTC at

3    8; Lau Decl. at ¶ 12. Due to reservation issues, Veritext had to book a separate room for the

4    court reporter and the deposition began late. Id.; ECF No. 37-3, Declaration of Julianne Pinter

5    in Support of Defendant’s Motion to Compel the Further Deposition of Plaintiff and Motion to

6    Compel Answers at a Deposition (“Pinter Decl.”), at ¶ 3. Again, the pace of the deposition was

7    slow due to the same issues that arose in the first two days of deposition and the parties agreed

8    to hold a fourth day of deposition on August 24, 2020. MTC at 8-9; Pinter Decl. at ¶¶ 4-5.

9             Plaintiff’s fourth day of deposition also was extremely slow due to the same difficulties
10   and interactions that occurred during the prior three days. MTC at 9; Pinter Decl. at ¶ 6. At
11   approximately 4:05 p.m., Plaintiff’s counsel inquired into how much longer Defendant intended
12   to depose Plaintiff to which defense counsel replied that she did not know and that the length
13   of time depended on Plaintiff’s responsiveness to the remaining questions. MTC at 9-10; Pinter
14   Decl. at ¶ 7. When defense counsel would not definitively commit to concluding the deposition
15   by 5:00 p.m., Plaintiff’s counsel unilaterally ended the deposition at 4:09 p.m. and left with his
16   client. ECF No. 37-3, Exhibit 2 to Pinter Decl. (“Exhibit 2”), at 39-40.
17            Before Plaintiff departed from her fourth day of deposition, Defendant stated that if

18   Defendant was unable to complete Plaintiff’s deposition, Defendant would seek the Court’s

19   intervention. MTC at 10; Exhibit 2 at 37. On August 25, 2020, Defendant filed an Ex Parte

20   Application for Relief to File a Motion to Compel the Further Deposition of Plaintiff and Motion

21   to Compel Answers at a Deposition Past the Discovery Deadline [ECF No. 33] and Plaintiff filed

22   an opposition to the motion [ECF No. 35] on August 26, 2020. On August 31, 2020, the Court

23   granted Defendant’s Ex Parte Application and set a briefing schedule for Defendant’s motion to

24   compel. ECF No. 36. In accordance with that schedule, the parties timely filed their motion,

25   opposition, supplemental opposition, and reply. Id.; see also MTC, Oppo., Supp. Oppo., and

26   Reply.

27                                          LEGAL STANDARD

28            Once a Rule 16 scheduling order is issued, dates set forth therein may be modified only

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1    “for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). The Rule 16 good

2    cause standard focuses on the “reasonable diligence” of the moving party. Noyes v. Kelly Servs.,

3    488 F.3d 1163, 1174 n.6 (9th Cir. 2007); Coleman v. Quaker Oats Co., 232 F.3d 1271, 1294-95

4    (9th Cir. 2000) (stating Rule 16(b) scheduling order may be modified for “good cause” based

5    primarily on diligence of moving party).      In deciding whether to permit modification to a

6    scheduling order, the Court should consider: (1) the degree of prejudice to the moving party

7    resulting from failure to modify; (2) the degree of prejudice to the nonmoving party from a

8    modification; (3) the impact of a modification at that stage of the litigation on the orderly and

9    efficient conduct of the case; and (4) the degree of willfulness, bad faith, or inexcusable neglect
10   on the part of the moving party. United States v. First Nat. Bank of Circle, 652 F.2d 882, 887
11   (9th Cir. 1981). When refusal to allow modification might result in injustice, while allowing the

12   modification would cause no substantial injury to the opponent and no more than slight

13   inconvenience to the court, modification should be granted. Id. “The pretrial schedule may be

14   modified ‘if it cannot reasonably be met despite the diligence of the party seeking the

15   extension.’” Lavin v. United Techs. Corp., No. 2:13-CV-09384-CAS, 2014 WL 4402244, at *2

16   (C.D. Cal. Sept. 5, 2014) (citing Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir.

17   2002)).

18                                            DISCUSSION

19          Defendant seeks an order from the Court compelling Plaintiff to: (1) complete her

20   deposition past the discovery deadline; (2) answer questions that she was instructed not to

21   answer; (3) answer questions that she failed to respond to; and (4) supply information that was

22   requested during her deposition. MTC at 5. Plaintiff argues that Defendant’s motion should be

23   denied because Defendant has failed to demonstrate good cause and excusable neglect and has

24   had ample time to complete Plaintiff’s deposition. Oppo. at 6; Supp. Oppo. at 4.

25          A. Standard of Proof

26          Plaintiff argues that Defendant must establish excusable neglect because it filed its motion

27   less than 21 days before the discovery deadline. Oppo. at 6; Supp. Oppo. at 4 (citing Fed. R.

28   Civ. P. 6(b)(1)(B)). Federal Rule Civil of Procedure 6(b)(1)(A) provides that a court may extend

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1    a deadline “for good cause” if the motion is made “before the original time or its extension

2    expires.” Fed. R. Civ. P. 6(b)(1)(A). Rule 6(b)(1)(B) states that if the motion is made after time

3    has expired, the party also must establish that it “failed to act because of excusable neglect.”

4    Fed. R. Civ. P. 6(b)(1)(B). Here, Defendant filed its Ex Parte Application for Relief to File a

5    Motion to Compel the Further Deposition of Plaintiff and Motion to Compel Answers at a

6    Deposition Past the Discovery Deadline [ECF No. 33] on August 25, 2020, the last day of fact

7    discovery. The Court granted Defendant’s ex parte application and authorized briefing after the

8    close of discovery. ECF No. 36. Accordingly, the Court finds that Rule 6(b)(1)(A) governs and

9    Defendant does not have to establish that it failed to act due to excusable neglect. Alternatively,
10   and for the reasons set forth in this order, the Court also finds that Defendant has established
11   excusable neglect.
12          B. Taking Plaintiff’s Deposition Past the Discovery Deadline
13          Defendant argues that it is entitled to take and complete Plaintiff’s deposition as “Plaintiff

14   has discoverable information that is highly relevant to her claims regarding discrimination,

15   termination, retaliation, and emotional distress.” MTC at 15. Defendant also contends that this

16   information is “critical to establishing [Plaintiff’s] claims and Defendant’s defenses in this action”

17   and that “there is likely no other source for such information.” Id. Defendant asserts that good

18   cause exists for the Court to allow Defendant to depose Plaintiff past the discovery deadline as

19   Defendant has diligently attempted to complete Plaintiff’s deposition before the deadline by

20   conducting four days of deposition of Plaintiff over the course of three months. Id. at 16-17.

21   Finally, Defendant argues that the Court must allow additional time to depose Plaintiff because

22   the various technical issues, the slow pace caused by the use of a remote Spanish interpreter,

23   and Plaintiff’s “dilatory tactics” unreasonably delayed Plaintiff’s deposition. Id. at 16.

24          Plaintiff argues that Defendant: 1) ignores the fact that it switched the deposing attorney

25   for two sessions; 2) fails to acknowledge that Plaintiff showed up for four days of deposition; 3)

26   fails to identify the total number of hours Plaintiff has been deposed; and 4) fails to identify how

27   much more time Defendant requires to complete Plaintiff’s deposition.            Supp. Oppo. at 3.

28   Plaintiff also argues that Defendant does not provide facts establishing the reasons for its failure

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1    to complete Plaintiff’s deposition in the three and a half days that have already been provided.

2    Oppo. at 8; Supp. Oppo. at 5.

3           Defendant replies that Plaintiff does not deny that: 1) Plaintiff engaged in dilatory tactics

4    and ended two days of deposition early; 2) the various technical issues and a Spanish interpreter

5    considerably slowed the pace of the deposition; and 3) Plaintiff failed to respond to and refused

6    to answer questions. Reply at 2. Defendant reasserted that Plaintiff’s deposition could be

7    completed within a half day, or four hours, if Plaintiff answered questions and did not digress.

8    Id. Finally, Defendant argues that Plaintiff fails to demonstrate why Defendant’s actions of

9    switching attorneys leads to Defendant’s inability to show good cause. Id. at 3.
10          Defendant has established good cause to allow Plaintiff to be deposed on a fifth day.

11   Initially, the Court finds that Defendant has been reasonably diligent it its efforts to depose

12   Plaintiff in a timely manner. Defendant first noticed Plaintiff’s deposition for December 10, 2019.

13   For a variety of normal litigation reasons, the deposition was reset for April 21, 2020. This date

14   was continued to June 15, 2020 and the discovery deadline was continued to August 25, 2020

15   due to COVID-19 issues. As a result, Plaintiff’s deposition began more than two months before

16   the close of discovery and during those two plus months, Defendant deposed Plaintiff on four

17   different days.

18          While it is unusual for a party to be unable to complete a deposition in that time, there

19   were a number of factors beyond Defendant’s control that contributed to this situation. First,

20   there were delays related to COVID-19. Plaintiff required the use of a Spanish interpreter, but

21   the interpreter was unable to provide simultaneous translation because all of the participants

22   were in different locations using remote audio technology and the court reporter could not

23   transcribe the testimony when two people were talking at the same time. The deposition also

24   was delayed due to technical issues with the program being used to conduct the remote

25   deposition and Plaintiff’s stated unfamiliarity with how to use a computer, including how to scroll

26   through a document. Second, there were delays due to Plaintiff’s non-responsive, protracted,

27   and evasive answers. Defendant cites to an example of Plaintiff’s non-responsiveness during

28   her deposition:

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1
                  Q: Ms. Hernandez, did you report to the police your complaint
2                 regarding the request that you take a minor to the airport?

3                 A: Why was I going to report it? If I was a new employee and I
                  believed in the company and I – I was only asking for them to train
4
                  me adequately. . .
5
                  Q: My question is, did you report it to the police? Yes or no.
6
                  A: And I’ve already answered. Why, if I was working for a
7
                  company?
8
                  Q: Did you report it to the police?
9
10                A: Why was I going to report it to the police if I was working for a
                  company? That’s my answer.
11

12   MTC at 13; ECF No. 37-3, Exhibit 1 to Pinter Decl. (“Exhibit 1”), at 11-12. Plaintiff continued to
13   refuse to answer the question and her responses spanned more than five pages of the deposition
14   transcript. MTC at 14; Exhibit 1 at 11-15. Defendant notes another instance in which Plaintiff
15   provided evasive answers which required follow-up questions to refresh her memory:
16

17                Q: And who were you suing?

18                A: At Loma Linda University.

19                ...
20
                  Q: And were you injured when you were working for Loma Linda
21                University?

22                A: Yes.
23
                  Q: What was your injury?
24
                  A: I don’t remember.
25

26                ...

27                Q: And how did you injure yourself?
28                A: I don’t remember.
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1
                   Q: And when did you injure yourself?
2
                   A: I don’t remember.
3
                   Q: Do you have an estimate of the year?
4

5                  A: No, I don’t remember.

6                  Q: Was it within the last two years?
7
                   A: No.
8
                   Q: Was it in the last five years?
9
10                 A: I don’t remember.

11   Lau Decl. at ¶ 9; ECF No. 37-2, Exhibit F to Lau Decl. (“Exhibit F”), at 52-53. Defendant asserts
12   that Plaintiff answered, “I don’t remember,” to approximately 100 questions. Lau Decl. at ¶ 9.
13   Plaintiff does not address, explain or dispute the fact that she provided numerous non-
14   responsive and evasive answers. See Oppo., Supp. Oppo. Plaintiff also does not identify any
15   improper or dilatory conduct or questioning committed by defense counsel that delayed the
16   deposition. 1 Id. In light of all of these facts, the Court finds that Defendant has been reasonably
17   diligent in its efforts to depose Plaintiff and that it was unable to complete her deposition in the
18   time that already has occurred.
19          The next issue is prejudice. Plaintiff largely argues that she will be prejudiced by an
20   extension of the discovery deadline because “[a]llowing Defendant an infinite amount of time to
21

22
     1
        Plaintiff does argue that Defendant should not have switched attorneys between Plaintiff’s
23   second and third day of deposition. Supp. Oppo. at 3-4. However, Plaintiff does not explain
     how it delayed the deposition, how it prejudiced her, or why it should prevent Defendant from
24
     conducting the additional hours of deposition. As Defendant explained and Plaintiff noted,
25   Defendant utilized lead trial counsel for the last two days of the deposition in an effort to “elicit
     responsive answers” from a difficult witness. Reply at 3; Supp. Oppo. at 4 (stating that it was
26   likely Defendant will argue that the switch in attorneys was necessary to corral Plaintiff). Under
     the facts of the case, the Court finds that there was nothing improper about the switch in
27
     attorneys, that the switch did not negatively impact Plaintiff or the pace of the deposition, and
28   that Defendant did not engage in bad faith or improper delay.

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1    continue discovery will inevitably push the trial back.” Supp. Oppo. at 5; see also Oppo. at 7.

2    This argument is unpersuasive. First, Defendant seeks to depose Plaintiff for no more than half

3    a day, or approximately four hours. Reply at 2. Second, the Court will not allow an “infinite

4    amount of time” to complete the deposition. Third, the additional deposition time will not impact

5    the January 21, 2021 Pretrial Conference date and a trial date has not yet been set. 2 As a result,

6    the Court finds that Plaintiff will not be unduly prejudiced if the instant motion is granted. In

7    contrast, Defendant will be prejudiced if it is unable to complete Plaintiff’s deposition as it will

8    be unable to ascertain the relevant facts regarding Plaintiff’s claims. First Nat. Bank of Circle,

9    652 F.2d at 887.
10          For these reasons, the Court finds that Defendant has been reasonably diligent in its

11   efforts to depose Plaintiff and to file the instant motion, that Plaintiff’s deposition conduct

12   significantly contributed to the delay in completing the deposition, that the prejudice to Plaintiff

13   from the additional deposition time is significantly less than the prejudice to Defendant if the

14   motion was denied, that Defendant did not engage in bad faith or improper conduct, and that

15   the modification will not impact the orderly and efficient resolution of this case. Accordingly,

16   the Court GRANTS Defendant’s motion to further depose Plaintiff for four hours. The deposition

17   must occur on or before October 16, 2020.

18          C. Compelling Answers

19          Defendant argues Plaintiff should be compelled to answer questions regarding her

20   termination, medical history and redacted medical records, psychological treatments, contacts

21   with the media regarding her allegations, and specific details of alleged child abuse incidents as

22   the information is highly relevant to her claims in the instant action. MTC at 12; Pinter Decl. at

23   ¶ 8. Plaintiff largely focuses her argument on whether Defendant should be granted additional

24   time to depose her and does not address Defendant’s requests for specific answers. See Oppo.;

25   see also Supp. Oppo.

26   ///

27

28   2
       For the same reason, the Court finds that the requested and authorized minimal extension of
     the discovery deadline will not impact the orderly and efficient conduct of this case.
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1                   a. Relevance Objection

2            Defendant moves to compel Plaintiff to answer the question, “What’s your current e-

3     mail?”. MTC at 12-13; Pinter Decl. at ¶ 9; Exhibit 2 at 33. Plaintiff’s counsel, Attorney Roberto

4     Montes, Jr., instructed Plaintiff to not answer the question and argued that Plaintiff was not

5     using that email at the time that she applied for positions at Southwest. Exhibit 2 at 33. When

6     defense counsel, Attorney Julianne Pinter, noted that the email address would likely lead to the

7     discovery of admissible evidence, Mr. Montes argued that Plaintiff had already answered the

8     foundational question of whether she was using her current email at the time of her job

9     applications, that Ms. Pinter was speculating, and that Defendant had other means of discovering
10    that information. Id. at 33-34. Defendant argues that Plaintiff’s response to this question is
11    likely to lead to the discovery of admissible evidence regarding Plaintiff’s allegations that she

12    had applied for alternative positions with Southwest but was not considered for them. MTC at

13    13; Pinter Decl. at ¶ 9.

14           Under Federal Rule of Civil Procedure 30, an attorney may instruct a client to not answer

15    a question “only when necessary to preserve a privilege, to enforce a limitation ordered by the

16    court, or to present a motion under Rule 30(d)(3)” to terminate or limit the deposition. Fed. R.

17    Civ. P. 30(c)(2), (d)(3). If none of the enumerated objection grounds exist, the objection may

18    be noted on the record, “but the examination still proceeds; the testimony is taken subject to

19    any objection.” Id. at 30(c)(2); see also Brincko v. Rio Properties, Inc., 278 F.R.D. 576, 581 (D.

20    Nev. 2011) (“The remedy for oppressive, annoying and improper deposition questioning is not

21    simply to instruct a witness not to answer.”); Detoy v. City & Cnty. of San Francisco, 196 F.R.D.

22    262, 365 (N.D. Cal. 2000) (“As a rule, instructions not to answer questions at a deposition are

23    improper.”); Rutter Group Prac. Guide Fed. Civ. Pro. Before Trial Ch. 11(IV)-A § 11:1565 (“Rule

24    30(c)(2) renders ‘relevancy’ objections meaningless in most depositions. The deponent must

25    even answer questions calling for blatantly irrelevant information ‘subject to the objection.’”).

26           The Court finds that Plaintiff’s counsel improperly instructed his client to not answer this

27    question and further finds that the information is relevant. Accordingly, the Court ORDERS

28    Plaintiff to provide Defendant with her current email address. Plaintiff must provide Defendant

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1     with the answer in writing, signed under the penalty of perjury, on or before October 8, 2020.

2                   b. Nonresponsive Answers

3            Defendant argues that during the third day of deposition, Plaintiff provided nonresponsive

4     answers to multiple lines of questioning. MTC at 13-14; Pinter Decl. at ¶ 4; ECF No. 37-3, Exhibit

5     1 to Pinter Decl. (“Exhibit 1”), at 11-17.       Specifically, Defendant contends that Plaintiff

6     “continually provided non-responsive answers to the questions of whether she reported to the

7     police about the incident of taking a minor to the airport” and “whether she reported anything

8     to the police regarding her employment at” Southwest. MTC at 13-14. Defendant provided the

9     following example:
10
                    Q: Did you ever report anything to the police regarding your
11
                    employment at Southwest Key program?
12
                    A: I reported it to the pertinent authorities, which was the CEO or
13                  president of the company, the name was Juan Sanchez; Linda
                    Mendez, who was the program director; Sofia Hernandez, who was
14
                    my immediate supervisor; Ana Baudar, who is now the program
15                  director; Geraldo Rivera, who is a high executive. Also to human
                    resources and many more– and many more people who I don’t have
16                  in mind right now. But I do have e-mails that I send out and that
                    you told the – at the judge that I deleted. But, ma’am, why would I
17
                    delete them? So if you’re asking me that question, you have the
18                  answer. And if you think I’m lying, go look at the e-mails. And don’t
                    say that I deleted them, please.
19

20                  ...

21                  Q: Ms. Hernandez, listen very carefully, please. Every complaint that
                    you made only to the police regarding your employment at
22                  Southwest Key Program, Inc.?
23
                    A: Ms. Attorney, I’m going to answer the same thing that I’ve already
24                  answered to you. I reported it to the pertinent authorities at the
                    company.
25

26                  Q: And you did not report it to the police; is that right?

27                  A: Why was I going to report it to the police? The only thing I wanted
                    to do is work.
28

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1     MTC at 14; Exhibit 1 at 15-16. Plaintiff continued to provide nonresponsive answers for an

2     additional four pages of the deposition transcript. MTC at 14; Exhibit 1 at 15-20.

3            A party seeking discovery may “move for an order compelling an answer” if “a deponent

4     fails to answer a question” asked during a deposition. Fed. R. Civ. P. 37(a)(3)(B)(i); see also

5     Fed. R. Civ. P. 37(a)(4) (providing that “an evasive or incomplete ... answer ... must be treated

6     as a failure to ... answer”). Defendant’s question required a “yes” or “no” response and Plaintiff

7     did not provide either one. Plaintiff provides no explanation for why she failed to answer the

8     question and no argument why she should not be compelled to answer. The Court finds that

9     Plaintiff failed to answer the question and that Defendant was entitled to a response. Fed. R.
10    Civ. P. 37(a)(4). Accordingly, Plaintiff is ORDERED to answer the questions of whether she
11    reported the incident with the minor to the police and whether she reported anything regarding
12    her employment at Southwest to the police. Plaintiff must provide Defendant with the answers
13    in writing, signed under the penalty of perjury, on or before October 8, 2020.
14                  c. Missing Information

15           Defendant contends that during the third day of deposition, Plaintiff testified that she

16    took medication for anxiety, but could not recall the name of the doctor who prescribed the

17    medication. MTC at 15; Pinter Decl. at ¶ 4; Exhibit 1 at 27-28. Defendant explains that a blank

18    was left in the deposition transcript to enable Plaintiff to provide the doctor’s name, but Plaintiff

19    has not done so. Id. Defendant asserts that this information is relevant and necessary to

20    determine the validity of Plaintiff’s emotional distress claims. MTC at 15. Plaintiff does not

21    address this request and argument. See Oppo.; see also Supp. Oppo.

22           The requested information is relevant and Plaintiff is ORDERED to provide the

23    prescribing doctor’s name and address in a written response signed under the penalty of perjury

24    no later than October 8, 2020. Defendant also asks the Court to strike Plaintiff’s claim for anxiety

25    and emotional distress damages if she does not provide the requested information. This request

26    is denied without prejudice as premature.

27    ///

28    ///

                                                       12
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1                                                CONCLUSION

2            For the reasons stated, the Court GRANTS Defendant’s Motion and ORDERS:

3            1.     Defendant may depose Plaintiff for an additional four hours on or before October

4     16, 2020. Plaintiff is ordered to answer the specific questions asked by defense counsel.

5            2.     On or before October 8, 2020, Plaintiff must provide written responses, signed

6     under the penalty of perjury, to the following questions:

7                   a.      What is Plaintiff’s current email address? If Plaintiff’s email address on

8     October 7, 2020 is different than it was when Defendant originally asked this question, Plaintiff

9     must provide a response using the date(s) the question was asked during the deposition.
10                  b.      Did Plaintiff report the incident of taking a minor to the airport to the police?
11                  c.      Did Plaintiff report anything regarding her employment with Southwest to
12    the police?
13                  d.      What is the full name and address of the doctor who prescribed medication
14    to Plaintiff for her anxiety?
15           3.     Defendant may ask the above questions during the deposition even if Plaintiff has
16    provided written responses.
17           IT IS SO ORDERED.
18    Dated: 10/1/2020

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